UNITED STATESBISTRICT COURT E-RER Document5 Filed 11/15/23 Page 1 of 1 PagelD #: 31
EASTERN DISTRICT OF NEW YORK
DAMIAN MARTIN ON BEHALF OF HIMSELF AND ALL OTHERS SIMILARLY N
COURT DATE & TIME: AT

SITUATED INDEX #: 1:23-CV-08114-FB-RER
DATE FILED: 11/01/2023

lainti Job #: 583007
vs Maint Client File#
SHOEWELL INC STEIN SAKS, PLLC
ONE UNIVERSITY PLAZA
SUITE 620
Defendant HACKENSACK, NJ 07601
CLIENT’S FILE NO.: AFFIDAVIT OF SERVICE UPON A CORPORATION

STATE OF NEW YORK: COUNTY OF NASSAU ss:

I, ERIC RIVERA, being duly sworn deposes and says deponent is not a party to this action and is over the
age of eighteen years and resides in the State of New York.

That on 11/9/2023 at 10:52 AM at 133 ORCHARD STREET, NEW YORK, NY 10002, deponent served the
within SUMMONS IN A CIVIL ACTION, CLASS ACTION COMPLAINT AND DEMAND FOR JURY

TRIAL

by personally delivering to and leaving with SURY "DOE" for SHOEWELL INC C/O YURY TSATSKIN, a
true copy thereof, and that deponent knew the person so served to be the AUTHORIZED PARTY /Managing
Agent and stated (s)he was authorized to accept legal papers for the corporation.

Said documents were conformed with index number and date of filing endorsed thereon.

A description of the person served on behalf of the defendant is as follows:
Approx Age: 36 - 50 Yrs., Approx Weight: 131-160 Lbs., Approx Height: 5' 4" - 5' 8", Sex: Female,
Approx Skin: Brown, Approx Hair: Black

REFUSED TO GIVE LAST NAME.

Sworn to before me on | } /: 15] 2
EUGENE SOKOLOV #01S00000204 b+
Notary Public State of New York

RICHMOND County, Commission Expires 02/02/2027

=

ERIC RIVERA
1212873

SUPREME JUDICIAL SERVICES, INC. 371 MERRICK ROAD - ROCKVILLE CENTRE, N.Y. 11570 Lic# 1092373
